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                        IN THE UNITED ST ATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

United States of America                      )         Criminal Action No. 2:07-0578-RMG
                                              )
        v.                                    )
                                              )                        ORDER
Albert E. Parish, Jr.                         )
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       Before the Court is Albert E. Parish, Jr.'s motion for reconsideration. (Dkt. No. 112.) For

the reasons set forth below, the motion is denied.

I.     Background

       In October 2007, Mr. Parish pleaded guilty to two counts of mail fraud in violation of 18

U.S.C. § 1341 and one count of making a false statement in violation of 18 U.S.C. § 1001. (Dkt.

No. 17.) The Honorable David C. Norton, District Judge for the District of South Carolina,

sentenced Mr. Parish to 292 months' imprisonment and ordered restitution in the amount of

$66,820,167.08, which was later amended to reflect restitution in the amount of $63,026,569.91

(Dkt. Nos. 64, 94). Mr. Parish appealed his conviction and sentence, which the Court of Appeals

for the Fourth Circuit affirmed in 2009. United States v. Parish, 334 Fed. Appx. 534 (4th Cir.

2009). Mr. Parish filed a complaint against Judge Norton, alleging violations of the Judicial

Conduct and Disability Act, 28 U.S.C. §§ 351-364, which the Fourth Circuit dismissed in 2017.

In the Matter of a Judicial Comp!. Under 28 USC§ 351, No. 04-16-90085. In November 2017,

Mr. Parish moved under Rule 60 of the Federal Rules of Civil Procedure to vacate his criminal

sentence and be resentenced by a different judge.

       In February 2019, the Court notified Mr. Parish that Rule 60 does not provide relief from

judgment in a criminal action and that a petition made pursuant to 28 U.S.C. § 2255 is the proper

avenue for the relief Mr. Parish sought. (Dkt. No. 106.) The Court further (1) notified Mr. Parish



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of its intent to recharacterize his motion as brought under § 2255 and (2) warned that the

recharacterization will subject subsequent § 2255 motions to restrictions on second or successive

motions, as well as (3) noted that any § 2255 motion is subject to a one-year period of limitations

under 28 U.S.C . § 2255(f) unless a basis for equitable tolling of the limitations period is

demonstrated . (Id.) The Court further provided Mr. Parish with the opportunity to either proceed

with his motion as styled or to accept recharacterization and amend his motion as brought under

28 U.S.C. § 2255 within sixty days and warned that if Mr. Parish did not amend his motion by

April 15 , 2019, the Court intended to dismiss the motion as improperly brought under Rule 60.

(Id.)

          Mr. Parish did not amend his motion, which the Court then reviewed as brought under Rule

60(b) and denied. Mr. Parish now contends that this ruling was a manifest injustice that warrants

reconsideration.

II.       Legal Standard

          Federal Rule of Civil Procedure 59 allows a party to move to alter or amend a judgment

within twenty-eight days. Fed. R. Civ. P. 59(e). The Court may grant a motion for reconsideration

only in limited circumstances: "(1) to accommodate an intervening change in controlling law; (2)

to account for new evidence not available at trial; or (3) to correct a clear error of law or prevent

manifest injustice." Pac. Ins. Co. v. Am. Nat '! Fire Ins. Co., 148 F.3d 396, 403 (4th Cir. 1998).

"Rule 59(e) motions may not be used, however, to raise arguments which could have been raised

prior to the issuance of the judgment, nor may they be used to argue a case under a novel legal

theory that the party had the ability to address in the first instance." Id. A Rule 59 motion tests

whether the Court' s initial Order was "factuall y supported and legally justified." Hutchinson v.

Staton , 994 F.2d 1076, 1081-82 (4th Cir. 1993). Therefore, the Court may decline to reconsider a




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prior holding that "applied the correct legal standards" and made "factual findings [ ] supported

by substantial evidence." Harwleyv. Comm 'r ofSoc. Sec. Admin., 714 Fed. Appx. 311, 312 (Mem)

(4th Cir. 2018). The movant's "mere disagreement" with the Court's legal application "does not

support a Rule 59(e) motion." Hutchinson , 994 F.2d at 1082. In short, Rule 59(e) provides an

"extraordinary remedy which should be used sparingly." Pac. Ins. Co., 148 F.3d at 403.

III.     Discussion

         In this criminal matter, Mr. Parish moves the Court under Rule 59(e) to reconsider its prior

order denying his motion to challenge the validity of his criminal sentence brought under Rule

60(b). (Dkt. No. 109.) As noted, before denying his Rule 60 motion, the Court notified Mr. Parish

that the proper vehicle for the relief sought was a petition for a writ of habeas corpus under 28

U.S.C. § 2255 and that Rule 60(b) "does not provide relief from judgment in a criminal case."

United States v. Johnson, 159 Fed. Appx. 835, 839 (10th Cir. 2005). Mr. Parish elected not to

amend his motion as properly brought under§ 2255.

         Mr. Parish now argues that the Court's denial of his Rule 60(b) motion is a manifest

injustice because the Court misunderstood the relief he sought and "robotically rubber-stamped

his motion as attacking his conviction and/or sentence." (Dkt. No. 112 at 2-3.) "Had this court

taken the time to actually read Parish' s motion," he contends, the Court would have identified the

"extraordinary circumstances" required for relief under Rule 60(b). (Id. at 3.) These arguments

are without merit here, where Mr. Parish sought resentencing by a different District Court judge

and, therefore, was properly construed as challenging the sentence imposed by the sentencing

judge. The sole remedy for this relief is a petition brought under§ 2255, which Mr. Parish declined

to file on sixty-days ' notice. See Johnson v. Taylor, 347 F.2d 365, 366 (10th Cir. 1965) ("The

exclusive remedy for testing the validity of a judgment and sentence, unless it is inadequate or




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ineffective, is that provided for in 28 U.S.C. § 2255."). Mr. Parish's arguments here do not impugn

the Court's prior legal reasoning and do not demonstrate the manifest injustice that Rule 59(e) may

remedy in a civil proceeding.

III.     Conclusion

         For the foregoing reasons, Mr. Parish' s motion for reconsideration (Dkt. No. 112) is

DENIED.

         AND IT IS SO ORDERED.




                                                      United States District Court Judge
May ( -l., 2019
Charleston, South Carolina




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